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                               ORIGINAL
                                                                               !S
                       IN THE UNITED STATES DISTRICT COURT                          AUGUSTh

                      FOR THE SOUTHERN DISTRICT OF GEORGIA H P-IL                         A,4 11:03

                                     DUBLIN DIVISION                      CLERK

  JOHN E. HODGES, JR.,                         )
                                               )
                 Petitioner,                   )
                                               )
         V.                                    ) CV 310-077
                                               ) (Formerly CR 305-024)
  UNITED STATES OF AMERICA,                    )
                                               )
                 Respondent.                   )


              MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


         Petitioner, an inmate confined to federal custody at FCI Big Spring, in Big Spring.

  Texas has tiled with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or

  correct his sentence. For the reasons set forth below, Court REPORTS and RECOMMENDS

  that Petitioner's § 2255 motion be DENIED, that this civil action be CLOSED, and that a

  final judgment be ENTERED in favor of Respondent.

  1.     BACKGROUND

         A.      Criminal Proceedings

         Pursuant to an October 13, 2006 superceding indietment. Petitioner was charged with

  conspiracy to distribute 50 grams or more of cocaine base (crack), along with a quantity of

  cocaine hydrochloride (powder), in violation of 21L1.S..C. § 841(a)(1) and 846.1 United

  States v. Hodges, CR 305-024, doe. no. 58 (S.D. Ga. Oct. 13, 2006) (hereinafter "CR 305-

  024"). At a change of plea (Rule 11) hearing held November 28, 2007, Petitioner pled guilty


     'In the underlying criminal proceeding. Petitioner was indicted under the name 'Johnny
  Hodges." CR 305-024, doe. no. 1. His full name is John Edward Hodges, Jr. See Presentence
  Investigation Report, Identifying Data. p. 3.
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  pursuant to a plea agreement with the government to the lesser included offense of conspiracy

  to distribute a quantity of crack cocaine and powder cocaine. j, doe. nos. 139, 159, 201.

  Under the terms of the plea agreement, the government agreed, inter alia, to: (1) not seek a

  sentencing enhancement pursuant to 21 U.S.C. § 85 1 ;2 (2) recommend that the district court

  find Petitioner to be a "minor participant" in the conspiracy, giving Petitioner a two-level

  reduction under the United States Sentence Guidelines (the "Guidelines"); and (3) recommend

  a three-level reduction for acceptance of responsibility. "provided the defendant truthfully

  admits the conduct comprising the offense of conviction ... and truthfully admits or does not

  falsely deny any additional relevant conduct for which the defendant is accountable." Id., doe.

  no. 159, p, 2. In return, Petitioner agreed, inter alia, to plead guilty to the lesser included

  offense of Count 1 of the superceding indictment and "[a]cknowledge at the time of the plea

  the truth of the 'Factual Basis" contained in the plea agreement." Id.

          After the Rule 11 hearing, the United States Probation Office prepared a presentence

  investigation report ("PSI").' The PSI indicated that Petitioner's prior convictions included,

  inter alia, a 2001 conviction in the Montgomery County Superior Court for a sale of cocaine,



     2A sentence enhancement pursuant to 21 U.S.C. § 85 1 would have resulted in Petitioner
  receiving "an almost mandatory life sentence." i, doe. no. 168, p. 15; see PSI ¶ 68.

     3The "Factual Basis" that Petitioner agreed to admit to under the plea agreement provided
  that he and his co-conspirators "did knowingly and intentionally combine, conspire,
  confederate, and agree to commit offenses against the United States, to wit: to distribute 50
  grams or more of cocaine base (crack), and a quantity of cocaine hydrochloride (powder)" and
  that Petitioner's "plea of guilty constitutes proof ofthe lesser included offense of that count,
  that is to say, without any drug quantity threshold being alleged for penalty enhancing
  purposes" Id., doe. no. 159, pp. 6-7.

      'The probation officer interviewed Petitioner following his Rule 11 hearing, where he
  explained that his involvement in the conspiracy included working security at "the club,"
  moving traffic fIow, and selling marijuana, crack cocaine, and powder cocaine. PSI ¶ 29.
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  and a 2003 conviction in that court for possession of marijuana with intent to distribute. PSI

  ¶J 45-46. Petitioner's total offense level and criminal history category yielded atotal offense

  level of 32 with a criminal history category of VI, with an advisory range of2lO to 262 months

  under the Guidelines; the PSI provided, however, that the statutory maximum term of

  imprisonment pursuant to 21 U S.C. § 84 l(b)( 1 )(C) was twenty years (240 months). ¶J 66-

  67. Because the high end of the Guidelines range was higher than the statutorily permitted

  sentence, the probation officer concluded that the applicable Guidelines range was 210 months

  up to the statutory maximum of 240 months. Id. 167.

          Petitioner raised a number of objections to the PSI - namely, the government's

  description of the events of the conspiracy, the quantity of drugs attributable to him under the

  conspiracy, and to his status as a career offender.' !. addendum. Since Petitioner "objected

  to every drug quantity attributable to him" in the PSI, the probation officer considered that

  Petitioner had not demonstrated acceptance of responsibility pursuant to § 3E1 .1 of the

  Guidelines,' and recommended that he not receive the corresponding three-level reduction in

  his offense level. Id. ¶J 29-30. After the PSI was released, Petitioner also wrote a letter in

  April, 2008 to the Honorable William T. Moore, Jr., then-Chief United States District Judge,

  where he downplayed his previous criminal convictions and argued that they did not make him

  a career offender. CR 305-024, doc. no. 146, pp. 1-2. Petitioner similarly argued that his role



     Under § 4B1.1 of the Guidelines, status as a career offender would result in a four-level
  enhancement. PSI 1140.

     6 Under § 3E1 . 1(a) of the Guidelines, a defendant who 'clearly demonstrates acceptance of
  responsibility for his offense" is eligible for a 2-level reduction; an additional 1-level reduction
  is available on motion of the government under § 3E 1.1 (b) where the base offense level is 16
  or greater, and the government states that the defendant has timely notified authorities of his
  intention to enter a guilty plea, thus conserving government resources.

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  in the current conspiracy charge was a"minor" one, and that he was responsible for his own

  actions but not accountable for his co-conspirators' drugs. Id. at 3-5.

            On October 27, 2008, Judge Moore conducted a sentencing hearing. Id., doe. no. 168.

  There, counsel for Petitioner, Mr. Jeffrey M. Harvey, argued against Petitioner's status in the

  PSI as a career offender, and argued that the quantity of drugs attributed to Petitioner was not

  reasonably foreseeable under the scope of the conspiracy. Id. at 4-10. Petitioner also testified

  on his own behalf, stating that he accepted his role in the conspiracy "as being a minimal

  role[;) as being somebody that worked at the nightclub," and that he accepted responsibility

  for "being in the nightclublj,J working there[,I and being around people that sell drugs." Id. at

  12, 14.

            After considering the evidence, Judge Moore found that sentencing Petitioner as a

  career offender based on his prior convictions would significantly over-represent Petitioner's

  criminal background. iç1,. at 16. Without the career offender status, Petitioner's total offense

  level was reduced to 28 with a criminal history category of IV, which changed the Guidelines

  range to 110-137 months .7 Id. at 17-18. Judge Moore sentenced Petitioner to 137 months of

  imprisonment on the conspiracy count, to be served consecutively to his state term of

  imprisonment. Id., doe. nos. 160, 168. A judgment was entered, following which Petitioner

  filed a direct appeal. Id., doe. nos. 160. 162. On June 15, 2009, the Eleventh Circuit Court

  of Appeals affirmed Petitioner's sentence. United States v. Hodges. 334 F. App'x 214, 216




    'Because status as a career offender would have trumped any reduction in sentencing for
 Petitioner's role as a minor participant, Judge Moore's finding that Petitioner was not a career
 offender gave him the additional benefit of a two-level reduction for his role as a minor
 participant. ( See A at 11.)

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  (1 lth Cir. 2009) (per curiam)

          B.      Issues Raised in § 2255 Motion

          Petitioner then timely filed his § 2255 motion, in which he raises the following two

  grounds for relief. (1) that his counsel was ineffective for objecting to the drug quantities for

  which Petitioner was attributed responsibility in the PSI, resulting in a loss of a three-level

  reduction for acceptance of responsibility; and (2) that his counsel was ineffective for failing

  to ask that Petitioner's federal sentence run concurrent with a state term of imprisonment from

  a parole violation. (Doc. no. 1. pp. 5, 10-12.) Respondent filed a timely response to

  Petitioner's § 2255 motion, following which Petitioner filed a reply. (Doc. nos. 4, 7.) The

  Court resolves these matters as follows.


  11.     DISCUSSION

          A.      Evidentiary Hearing Not Required

          The Court recognizes that in the Eleventh Circuit, the general rule is "that effective

  assistance claims will not be addressed on direct appeal from a criminal conviction because an

  evidentiary hearing, available in a section 2255 proceeding, is often required for development

  of an adequate record." Vick v. United States, 730 F.2d 707, 708 (1 Ith Cir. 1984).

 Nonetheless, this general rule does not require the Court to hold an evidentiary hearing every

 time an ineffective assistance of counsel claim is raised. Id. Stated another way:

                  Notwithstanding this legislative mandate, it is well settled that a
         petitioner does not establish his right to a hearing by the simple expedient of
         filing a petition. A hearing is not required on patently frivolous claims or those
         which are based upon unsupported generalizations. Nor is a hearing required
         where the petitioner's allegations are affirmatively contradicted by the record,


    8 1n his direct appeal, Petitioner argued that the District Court erred (1) by sentencing him
 based on contested facts in the PSI, and (2) by denying him a reduction under the Guidelines
 for acceptance of responsibility. Hodges, 334 F. App'x at 214.

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  Stephens v. United States, 14 F. Supp.2d 1322, 1334 (N.D. Ga. 1998) (citation omitted).

          As described in detail below. the Court finds that Petitioner's claims are affirmatively

  contradicted by the record or otherwise fail as a matter of law, and therefore no evidentiary

  hearing is necessary in this case.

          B.       Standard Governing Ineffective Assistance of Counsel Claims

          As noted above. Petitioner has raised two grounds for relief in his § 2255 motion, both

  of which are premised on the allegedly ineffective assistance of his counsel, Mr. Harvey. The

  ineffective assistance of counsel claims in the instant motion are subject to the two-part test

  enunciated in Strickland v. Washington, 466 U.S. 668 (1994), which is not a favorable

  standard to Petitioner. Massaro v. United States, 538 U.S. 500, 505 (2003). First, Petitioner

  must show that"counsel's representation fell below an objective standard of reasonableness."

  Strickland, 466 U.S. at 688. In applying this test, reviewing courts 'must indulge a strong

  presumption that counsel's conduct falls within the wide range of reasonably professional

  assistance[.I" Id.; see also Lancaster v. Newsome, 880 F.2d 362, 375 (1 lth Cir. 1989)

  (emphasizing "that petitioner was not entitled to error-free representation"). "A petitioner

  must overcome a strong presumption of competence, and the court must give significant

  deference to the attorney's decisions," Hagins v. United States, 267 F.3d 1202, 1204-05 (11 th

  Cir. 2001). Second, Petitioner must establish prejudice by showing "that counsel's errors were

  so serious as to deprive the defendant of fair trial, a trial whose result is reliable." Strickland,

 466 U.S. at 687. In the context of guilty plea, the Court must normally inquire as to whether

 counsel's performance affected the outcome of the plea process. Hill v. Lockhart, 474 U.S.

  52. 59 (1985).

          In applying the Strickland components outlined above. '[a] court need not determine
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  whether counsel's performance was deficient before examining the prejudice suffered by the

  defendant as a result of the alleged deficiencies . . . . If it is easier to dispose of an

  ineffectiveness claim on the ground of lack of sufficient prejudice, which we expect will often

  be so, that course should be followed." Smith v. Wainwrig, 777 F.2d 609, 616 (1 Ith Cir.

  1985). Under the prejudice component, "[tjhe defendant must show that there is a reasonable

  probability that, but for counsel's unprofessional errors, the result of the proceeding would

  have been different. A reasonable probability is a probability sufficient to undermine

  confidence in the outcome. ..." Id. 616 citing Strickland, 466 U.S. at 694-95). For as the

  Eleventh Circuit has ruled, an affirmative showing of prejudice that would undermine the

  results of the proceedings is necessary because '"attorney errors come in an infinite variety and

  are as likely to be utterly harmless in a particular case as they are to be prejudicial. That the

  errors had some conceivable effect on the outcome of the proceeding' is insufficient to show

  prejudice." Butcher v. United States, 368 F.3d 1290, 1293 (1 lth Cir. 2004) (citations

  omitted).

           Given the strong presumption in favor of competence, the petitioner's burden of

 persuasion though the presumption is not insurmountable- is a heavy one." Fugate v. Head,

 261 F.3d 1206, 1217 (11th Cir. 2001) (citation omitted). As the Eleventh Circuit has

 succinctly stated, 'The test has nothing to do with what the best lawyers would have done.

 Nor is the test even what most good lawyers would have done." Waters v. Thomas, 46 F.3d

  1506, 1512 (11 th Cir. 1995) (en bane). "[C]ases in which habeas petitioners can properly

 prevail on the ground of ineffective assistance of counsel are few and far between." Id. at

  1511. With these governing standards in mind, the Court will address each of Petitioner's

 specific claims.


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          1.      No Ineffectiveness of Counsel for Objecting to Drug Quantities

          In Ground One of his § 2255 motion, Petitioner argues that his trial counsel rendered

  ineffective assistance by objecting to the quantity of drugs that were attributable to Petitioner

  in the conspiracy, causing the District Court to deny him a three-level reduction under the

  Guidelines for acceptance of responsibility. (Doc. no. 1, pp. 5, 11.) Respondent counters that

  Petitioner - not his counsel was the driving force for the objections to the drug quantities

  attributed to the conspiracy. (Doc. no. 4, p. 15.) Moreover, Respondent argues that Petitioner

  himself objected to the drug quantities, and thus even if Mr. Harvey had not objected, the

  outcome would have been the same. (j4 at 17-18.) Respondent has the better argument.

          Applying the Strickland framework to this claim, Petitioner must show: (1) that his

  counsel's representation fell below an objective standard of reasonableness and (2) that there

  is a reasonable probability that, but for counsel's unprofessional errors, the result of the

  proceeding would have been different. 466 U.S. at 688, 694. The Eleventh Circuit has made

  clear that if a petitioner fails to prove that he was prejudiced under the second prong of

  Strickland, this alone warrants denial of relief for a claim of ineffective assistance of counsel.

  Wainwright, 777 F.2d at 616.

          Petitioner has failed to convincethe Court that he suffered prejudice from Mr. Harvey's

 assistance. Petitioner argues that Mr. Harvey's inexperience in criminal law and his "undue

 influence" over him caused Petitioner to believe he could not be held accountable for his co-

 conspirators' drug activities. (Doc. no. 7, p. 6.) Petitioner asserts that "Mr. Harvey never

 explained to [him] that he could be held accountable for co-conspirators['] drugs in the

 conspiracy," and that he did not learn that he could be held accountable for his co-conspirators'

 drugs until Mr. Harvey brought the first version of the PSI to Petitioner in January of 2008.


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  (Id. at 8.) Petitioner goes on to explain tliat, had he known that he would be held responsible

  for his co-conspirators drugs, he would have told Mr. Harvey not to object to the attributable

  drug quantities in the PSI, since 'the only reason" he agreed to the plea agreement was to reap

  the benefit of the three-level reduction for acceptance of responsibility. (Ld. at 8-9.)

          Although Petitioner argues that he did not learn that he could be held accountable for

  his co-conspirators drugs until the PSI was prepared in January of 2008, this date necessarily

  precedes the date Petitioner filed objections 10 the PSI. By his own admission. Petitioner was

  thus clearly aware of the law before he subsequently objected that his role in the conspiracy

  did not include the quantity of drugs that were attributed to him, and his self-serving attempt

  to now place the blame on his counsel is unavailing.

          Furthermore, the Court notes that while Petitioner insists that he only agreed to plead

  guilty because he would receive a three-level reduction for acceptance of responsibility, the

  plea agreement allowed Petitionerto avoid the possibility ofamandatory life sentence pursuant

 to a sentencing enhancement under 21 U.S.C. § 851. CR 305-024, doc. no. 159, p. 2.

  Moreover, it was Mr. Harvey's assistance that persuaded Judge Moore to find that Petitioner

 was not a career offender,' thus avoiding a four-level enhancement under the Guidelines. Id.,

 doc. no. 168, p. 16. Additionally, because status as a career offender would have trumped any

 reduction for Petitioner's role as a minor participant, Judge Moore's finding that Petitioner was

 not a career offender gave him the benefit of that additional two-level reduction. See id. at 11.

 As a result. Petitioners recommended sentencing range was nearly halved from 210-240

 months to 110-137 months. Id. at 18. Indeed, Judge Moore stated that Petitioner had received

 the significant benefit of the Court's findings in this case." 14. at 21. Given this outcome,

 Petitioner is hard pressed to show that he suffered prejudice as a result of Mr. Harvey's
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  assistance.

          Petitioner also fails to show prejudice because even if Mr. Harvey had not objected to

  the attributable drug quantities in the PSI, Petitioner has not established that the outcome of

  the proceedings would have been different where Petitioner himself made numerous attempts

  to minimize his role in the conspiracy.

          At the November 28, 2007 Rule 11 hearing. Special Agent Stephen Tinsley with the

  Drug Enforcement Agency gave the factual basis for the conspiracy charge, stating that the

  government's evidence would indicate that Petitioner was part of a conspiracy, albeit in a

  minor role, to distribute and sell cocaine base and powder. CR 305-024, doe. no. 201, pp. 20-

  2 . Upon conclusion of Agent Tinsley's testimony, Judge Moore asked Petitioner to explain

  his role in the conspiracy. Id.at22. Judge Moore specifically clarified with Petitioner that his

  minor role in the conspiracy still included responsibility for distributing and selling cocaine:

          [PETITIONER:] Around 2005 Ewas working in a nightclub, security. Myjob
          was to keep the cars moving in and out for the traffic. Police told us that [as]
          long as cars keep going back and forth, they'll keep the club open. But when
          they come by, the cars in the middle of the road, that they was going to close
          the club down. So 1 was the security over there. That was rnyjob. And that's
          what 1 did. And every now and then 1 rnight've sold some marijuana, and 1
          hung out and got high at the club. And that's what 1 did.
          [COURT:] Well, you're not charged in this conspiracy with selling marijuana;
          you're charged in this conspiracy with being involved in a conspiracyfor the
          distribution and sale ofpowder cocaine and crack cocaine. Didyou do that?
          [PETITIONER:] Yes.
          [COURT:] And did you do that with Mr. Adams and the other individuals?
          [PETITIONER:] Yes.

  jç (emphasis added). Following the Rule 11 hearing, Petitioner was interviewed by a U.S.

  probation officer in Dublin, Georgia. PSI ¶ 29. Petitioner stated to the probation officer that

  his involvement in the conspiracy included working security at "the club," moving traffic flow,

  and selling marijuana, crack cocaine, and powder cocaine. j.

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          Yet, by the time of Petitionefs April, 2008 letter to Judge Moore, it was clear that he

  had changed his tune. In the letter, Petitioner argued that the drugs in the conspiracy belonged

  to his co-conspirators, and that '[aJ1l Urn accountable for is my actions not others. Them folks

  lived in another county. 1 knew nothing about their business," CR 305-024, doe. no. 146, pp.

  3-4. Mr. Harvey cannot be held responsible for this letter, as Petitioner opened it by stating:

  "My lawyer, knows nothing about me writing you." Id. at 1.

          Petitioner again attempted 10 minimize his role in the conspiracy at the October 27,

  2008 sentencing hearing. There, he stated:

          1 accept my role in this conspiracy as being a minimal role as being somebody
          that worked at the nightc!ub. . . . 1 been locked up almost now three years
          behind somebody else's criminal activity because they don't want to own up
          to they drugs... . And 1 apologize for me being in the nightclub working there
          and being around people that sell drugs. 1 accept my responsibility for that[.]

  Id., doe. no. 168, pp. 12-14. This testimony directly contradicts what Petitioner had previously

  admitted to Judge Moore during the November, 2007 Rule 11 hearing, and his statements in

  the interview with the probation officer. But, as noted above, even if Petitioner did not fully

  understand that he could be held accountable for the cocaine in the conspirac y until the PSI

  was released in January of 2008, he was certainly aware of the law before he denied

  responsibility for his co-conspirators' cocaine in his letter to Judge Moore and at the

  sentencing hearing. Petitioner's letter to Judge Moore and his statements at the sentencing

  hearing demonstrate that he had not accepted responsibility for any of the relevant conduct in

  the conspiracy - distributing and selling cocaine. Without regard to his counsel's actions,

  Petitioner himself had not "trLthfuIIy admitt[ed] the conduct comprising the offense(s) of

  conviction, and truthfully admitt[ed] or not falsely den[ied] any additional relevant conduct for

  which the defendant is accountable under § 1 Ri .3" of the Guidelines. U.S.S.G. § 3E1 .1, crnt.

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  L(a), and the District Court correctly denied Petitioner a reduction for acceptance of

  responsibility.

          It is ultimately for the District Court to decide whether a defendant has accepted

  responsibility, and the District Court had discretion to make its determination independent of

  any recommendation by the probation officer. See United States v. Saw yer, 180 F.3d 1319,

  1323 (1 lth Cir. 1999) (refusing to overturn district court's determination that defendant bank

  robber was not entitled to reduction for acceptance of responsibility, even where probation

  officer had recommended it). The District Court is also accorded special deference when

  ruling on offense-level reductions for a defendant's acceptance of responsibility [blecause of

  the irnportance of determining a defendant's apparent sincerity through firsthand observation-"

   United States v. Williams, 340 F.3d 1231, 1241 (1 lthCir. 2003). Thus, even if Mr. Harvey

  had not objected to the drug quantities attributable to Petitioner in the PSI, the District Court

  had the authority to deny Petitioner a three-level reduction based on the Judge's own

  observations of Petitioner at the sentencing hearing.

          In sum, Petitioner fails to satisfy the second prong of Strickland because he cannot

  show that he suffered prejudice from Mr. Harvey's assistance. Under WainTight, Petitioner

  is therefore not entitled to relief on Ground One of his § 2255 motion.

          2.        No Ineffectiveness of Counsel for Failure to Ask that Sentence Run
                    Concurrently Instead of Consecutively

          In Ground Two of his § 2255 motion. Petitioner claims that his counsel was ineffective

  for failing to request that his 137-month federal sentence run concurrent, rather than

  consecutive, to his two-year state term of imprisonment. (Doc. no. 1, p. 5.) In support of this

  argument, Petitioner states that Mr. Harvey failed to properly investigate and evaluate the


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  merits of requesting pre-sentence credit for his state sentence; had Mr. Harvey raised this issue,

  Petitioner argues that the District Court could have credited Petitioner for any of the 25 months

  he had been in federal custody.' (Doc. no. 7, pp. 13-14.) Since there is "no evidence the

  district court would not have granted any credit" for his state sentence, Petitioner argues that

  there is a reasonable probability of different outcome. (ld. at 14.)

          Petitioner's argument misses the mark. The burden lies on Petitioner - not on

  Respondent - to show that there is a reasonable probability that the outcome of his proceeding

  would have been different had his counsel specifically requested to run the federal sentence

  concurrent to the state sentence. Wainwright, 777 F.2d at 616; Strickland, 466 U.S. at 694-95.

  As Respondent points out, Petitioner can only speculate whether the outcome would have been

  different. (Doc. no. 4, p. 18.) Indeed, Petitioner points to § 5G1 .3 of the Guidelines to show

  that the district court 'may" impose the federal sentence "to run concurrently, partially

  concurrently, or consecutively to the prior undischarged term of imprisonment." Yet this

  section confirms that it was squarely within the District Court's discretion to impose

  Petitioner's federal sentence to run consecutively. Petitioner cannot show that, but for his

  counsel's failure to request a concurrent sentence, the outcome of the proceeding would have -

  not merely could have - been different. Thus, Petitioner has not met his burden to show

  prejudice as to his second claim of ineffective assistance of counsel, and is therefore not

  entitled to relief on that ground.




     'Petitioner was arrested by state probation authorities on May 7, 2006 for violations of his
  probation; his probation term was revoked and replaced with a sentence of two-years
  confinement, to run from May 2006 to May 2008. PSI 11 45. Petitioner appeared via a writ for
  an initial appearance in his federal case on September 19. 2006, and has been in continuous
  federal custody since September 18, 2006. Id. ¶ 3.

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  111. CONCLUSION

         For the reasons set forth above, Court REPORTS and RECOMMENDS that

  Petitioner's § 2255 motion be DENIED, that this civil action be CLOSED, and that a final

  judgment be ENTERED in favor of Respondent.

         SO REPORTED and RECOMMENDED on this4ay of August, 2011, at

  Augusta, Georgia,




                                              UNITED ATESAJUDGE




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